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                       1 IVAN M. GOLD (BAR NO. 121486)
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                       5
                         Attorneys for Landlord-Creditor
                       6 GLENDALE MALL II ASSOCIATES LLC

                       7

                       8                                   UNITED STATES BANKRUPTCY COURT

                       9                                   SOUTHERN DISTRICT OF CALIFORNIA

                      10

                      11 In re:                                                    Case No. 24-01376-CL7

                      12 PIRCH, INC.,                                              DECLARATION OF IVAN M. GOLD
                                                                                   SUPPORTING RESPONSE OF GLENDALE
                      13                       Debtor.                             II MALL ASSOCIATES LLC TO
                                                                                   EMERGENCY MOTION FOR (1)
                      14                                                           REJECTION OF UNEXPIRED
                                                                                   NONRESIDENTIAL REAL PROPERTY
                      15                                                           LEASES AND (2) EXPEDITED
                                                                                   ABANDONMENT OF PERSONAL
                      16                                                           PROPERTY

                      17                                                           Dept: One (1)
                                                                                   Honorable Christopher B. Latham
                      18

                      19               I, IVAN M. GOLD, declare as follows:

                      20               1.      I am an attorney at law, duly admitted to practice before all of the courts of the

                      21 State of California and a member of the bar of this Court. I am Of Counsel to the law firm of

                      22 Allen Matkins Leck Gamble Mallory & Natsis LLP, attorneys for Glendale II Mall Associates

                      23 LLC, the lessor of debtor Pirch, Inc. (“Debtor”) with respect to retail premises located at Glendale

                      24 Galleria, Glendale, California.

                      25               2.      I have personal knowledge of the matters set forth in this declaration and, if called

                      26 to testify in this proceeding, could and would competently testify thereto.

                      27               3.      This declaration is submitted in response to the Declaration of Leslie T. Gladstone

                      28 in Support of Emergency Motion For Rejection of Unexpired Real Property Leases and (2)
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4865-4553-8490.1                                     -1-
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                       1    Expedited Abandonment of Personal Property (the “Gladstone Declaration”) in this Chapter 7

                       2 case.

                       3               4.      In the Gladstone Declaration, Ms. Gladstone, the Chapter 7 Trustee, asserts, at

                       4 paragraph 7 that she contacted me prior to the filing of the emergency motion and that I

                       5 “consented to e-mail service of this Motion and did not indicate any opposition.” I did indeed

                       6 speak with Ms. Gladstone on the afternoon of Thursday, April 25, 2024 (in response to my

                       7 voicemail message to her) and I did consent to e-mail service of the emergency motion. The

                       8 primary purpose of my call was not related to Glendale Galleria but, rather, to inquire with respect

                       9 to another property identified in the emergency motion, namely the Santa Ana location that was

                      10 previously subleased by the Debtor. We discussed her emergency motion in only general terms

                      11 and, while the concept of a request for retroactive relief was addressed in general terms, at no time

                      12 in our conversation did she disclose that she would be seeking to access to retail store premises

                      13 through May 31, 2024 or to determine the nature and extent of potential landlord claims on an

                      14 emergency basis. The fact that Ms. Gladstone believed that I “did not indicate any opposition” is

                      15 based on the lack of discussion as to the scope of the relief to be requested.

                      16               5.      The following morning, April 26, I exchanged e-mails with Ms. Gladstone

                      17 confirming my acceptance of e-mail service, a true and correct copy of which is attached hereto as

                      18 Exhibit 1 and incorporated herein by this reference.

                      19               I declare under penalty of perjury under the laws of the United States of America that the

                      20 foregoing is true and correct and that this declaration was executed on April 30, 2024 at Moraga,

                      21 California.

                      22

                      23                                                                         /s/ IVAN M. GOLD
                                                                                                   IVAN M. GOLD
                      24

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                      26

                      27

                      28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4865-4553-8490.1                                    -2-
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                    EXHIBIT 1
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From:                   Gold, Ivan
Sent:                   Friday, April 26, 2024 10:55 AM
To:                     Leslie Gladstone
Subject:                RE: Glendale and Santa Ana


I will accept service via e-mail. Are you including a moƟon for abandonment of personal property under Local Rule 6007-
4 or does the Trustee intend to remove FF&E from Glendale? If so, on what Ɵmeline?

Please coordinate with me on the scheduling of any emergency/expedited moƟon. I will be in New Jersey on Monday for
mulƟple WeWork hearings, with some addiƟonal periods of unavailability in the next few days aŌer that.


Ivan M. Gold | Of Counsel
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Cell (925) 323-2832
igold@allenmatkins.com | Bio
Allen Matkins Leck Gamble Mallory & Natsis LLP
Three Embarcadero Center, 12th Floor, San Francisco, CA 94111-4074
Allen Matkins

From: Leslie Gladstone <leslieg@flgsd.com>
Sent: Friday, April 26, 2024 10:40 AM
To: Gold, Ivan <igold@allenmatkins.com>
Subject: Glendale and Santa Ana

    CAUTION: External Email

We are filing the emergency motion today to reject leases (and allow removal of items for Glendale if
practicable). Motion allows us to do stip as alternative. Will you accept email service of the motion for Glendale
and Santa Ana (requires personal service otherwise, which I’m trying to avoid). Thanks. Leslie

                                         LESLIE T. GLADSTONE, Esq.
                                         5656 La Jolla Blvd., La Jolla, CA 92037
                                         Direct: (858) 294-0220    Main: (858) 454-9887
                                         LeslieG@flgsd.com      FLGSD.com



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copies of this message and any attachments. Thank you for your cooperation.




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